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                 UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF GEORGIA
                        SAVANNAH DIVISION                                      Cl)
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MARK DARNELL PORTER,

       Movant,

V.                                             Case No. CV614-079
                                                        CR612-012
UNITED STATES OF AMERICA,

       Respondent.


                                ORDER

       After a careful de novo review of the record in this case, the Court

concurs with the Magistrate Judge's Report and Recommendation, to

which objections have been filed. Accordingly, the Report and

Recommendation of the Magistrate Judge is adopted as the opinion of the

Court.

       SO ORDERED, this Lay of                           , 2014.




                                                             JIGE
                                         UNITED STATES DISTRI(2'F COURT
                                         SOUTHERN DISTRICT OF GEORGIA
